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                                                                                   2021 Feb-25 PM 03:53
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA


ANGELA DAVIS                            )
                                        )
                Plaintiff,              )
                                        )
v.                                      )     CASE NO. 3:20-CV-01784-LCB
                                        )
BOOKS-A-MILLION, INC. and               )
UNUM LIFE INSURANCE                     )
COMPANY OF AMERICA,                     )
                                        )
                Defendants.             )

                              NOTICE OF SETTLEMENT

        COME NOW the Parties, by and through counsel, and inform the Court that

a settlement has been reached, and the Parties request thirty (30) days to finalize the

written Settlement Agreement and file an appropriate Stipulation of Dismissal.



Date: February 25, 2021             /s/ Willson Jenkins
                                    Willson Jenkins, Esq.
                                    310 W. Tombigbee Street
                                    Florence, AL 35630
                                    willson@jenkinsandgonce.com
                                    ATTORNEY FOR PLAINTIFF




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Date: February 25, 2021           /s/ James S. Williams
                                  James S. Williams
                                  SIROTE & PERMUTT, P.C.
                                  2311 Highland Avenue South
                                  Birmingham, AL 35205
                                  T: 205.930.5178
                                  F: 205.212.3881
                                  E: jwilliams@sirote.com
                                  ATTORNEY FOR UNUM LIFE
                                  INSURANCE COMPANY OF AMERICA


Date: February 25, 2021           /s/ Jenna M. Bedsole
                                  Jenna M. Bedsole
                                  BAKER, DONELSON, BEARMAN,
                                  CALDWELL & BERKOWITZ, P.C.
                                  Shipt Tower
                                  420 North 20th Street, Suite 1400
                                  Birmingham, AL 35203
                                  (205) 244-3851 Telephone
                                  (205) 488-3851 Facsimile
                                  jbedsole@bakerdonelson.com

                                  ATTORNEY FOR BOOKS-A-MILLION,
                                  INC.




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